Case 8:15-cv-00192-AEP Document 127-4 Filed 05/02/17 Page 1 of 2 PagelD 1498

Exhibit D
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Aooignment of Agent Contract,

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